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UNITED STATES DISTRICT COURT l
FOR THE
DISTRICT OF MASSACHUSETTS

CHARLES P. SOTIRKYS,
Plaintiff

v. Case No.:

COMPLAINT AND DEMAND FOR

ACCOUNT CC)NTROL TECHNOLOGY,
' JURY TRIAL

INC.,
Defendant

 

(Unlawful- Debt Collection Practices)

COMPLAINT
CHARLES P. SOTIRKYS (“Plaintift”), by his attorneys, KIMMEL & SILVERMAN,
P.C., alleges the following against ACCOUNT CONTROL TECHNOLOGY, INC.

(“Defendant”):

INTRODUCTION
1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act,, 15
U.S.C. § 1692 et seq. (“FDCPA”).
JURISDICTION AND VENUE

2. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), Which states
that such actions may be brought and heard before “any appropriate United States district court
Without regard to the amount in controversy,” and 28 U.S.C. § 1331 grants this court original

jurisdiction of all civil actions arising under the laws of the United States.

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3. Defendant conducts business in the State of Massachusetts and therefore,
personal jurisdictionis established
4. Venue is proper pursuant to 28 U.S.C. § 1391(b)(1).

5. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

`PARTIES

6. _ Plaintiff is a natural person residing at in Plymouth County, Massachusetts,
02360.

7. Plaintiff` is a t‘consumer” as that term is defined by 15 U.S.C. § 1692a(3).

8. Defendant is a national debt collection company With corporate headquarters
located at 5531 Business Park S. in'Bakersfield, Calif`ornia, 93309.

v 9. Defendant isa “debt collector” as that term is defined by 15 U.S.C. § 1692a(6), l

and repeatedly contacted Plaintiff in an attempt to collect a debt.

10. Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

PRELIMINARY STATEMENT

11. The Fair Debt Collection Practices Act (“FDCPA”) is a comprehensive statute,

Which prohibits a catalog of activities in` connection With the collection of debts by_ third parties
§e_e 15 U.S.C. § 1692 et seq. The FDCPA imposes civil liability on any person or entity that
violates its provisions, and establishes general standards of debt collector conduct, defines abuse,
and provides for specific consumer rights. 15 U.S.C. § l692k. The operative provisions of the

FDCPA. declare certain rights to be provided to_or claimed by debtors, forbid deceitful and

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misleading practices, prohibit harassing and abusive tactics, and proscribe unfair or
unconscionable conduct, both generally and in a specific list of disapproved practices.

12. In particular, the FDCPA broadly enumerates several practices considered
contrary to its stated 'purpose, and forbids debt collectors from taking such action. The
substantive heart of the FDCPA lies in three broad prohibitions First, a “debt collector may not
engage in any conduct the natural consequence of Which is to harass, oppress, or abuse any
person in connection With the collection of a debt.” 15 U.S.C. § 1692d. Second, a “debt
collector may not use any false, deceptive, or misleading representation o_r means in connection -
With the collection of any debt.” 15 U.S.C. § 1692e. And third, a “debt collector may not use
unfair'or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f.
The FDCPA is designed to protect consumers from unscrupulous vcollectors', Whether or not there
exists a valid debt, broadly prohibits unfair or unconscionable collection methods`, conduct Which `
harasses, oppresses or abuses any debtor, and any false, deceptive or misleading statements in
connection With the collection of a debt.

13. ln enacting the FDCPA, the United States Congress found that “[t]here is
abundant evidence of the use of abusive, deceptive, and unfair debt collection practices by many
debt collectors,” Which “contribute to the number of personal bankruptcies, to marital instability,
to the loss of jobs, and to invasions of individual privacy.” 15 U.S.C. § 1692a. Congress
additionally found existing laws and procedures for redressing debt collection injuries to be
inadequate to protect consumers 15 U.S.C. § 1692b.

14. Congress enacted the FDCPA to regulate the collection of consumer debts by debt
collectors. n The express purposes of the FDCPA are to “eliminate abusive debt collection

practices by debt_collectors, to insure that debt collectors Who refrain from using abusive debt

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collection practices are not competitively disadvantaged, and to promote consistent State action

to protect consumers against debt collection abuses.” 15 U.S.C. § 1692e.

FACTUAL ALLEGATIONS

15. At all relevant times, Defendant was attempting to collect an alleged consumer
debt from Plaintiff.

16. The alleged debt at issue arose out of transactions, which were primarily for
personal, family, or household purposes l

17. On l\/larch 10, 2010 Defendant sent a letter to 254 Sandwich Street, Plymouth
Massachusetts, which has never been Plaintiff’ s address

y 18. Plaintiff finally receiveda letter at his correct address from Defendant on March
22, 2010.

19. Defendant’s letter stated that Defendant was attempting to collect a debt of
810,954.04 on behalf of Sallie Mae. A true and correct copy of the March 10, 2010 letter is `
attached hereto as Exhibit “A”.

c 20. Defendant’s letter goes on to state, “over the past several years we have helped
thousands of borrowers resolve their defaulted student debt...therefore we suggest you v
telephone our toll free number.” See Exhibit/1

21. ’ The statement above appeared to Plaintiff to be a_veiled~threat that he must call to
settle the alleged debt cr face grave consequences c l

y 22. Defendant’s letter indicates that Plaintiff has several options regarding the debt;
“rehabilitating your loan by demonstrating your commitment to repay monthly. . establishing an

affordable monthly payment plan based upon your income...consolidation of your loans.” See

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ExhibitA.

23. Defendant’s letter was misleading and deceptive as it did not provide the most
basic alternative as the first option, that Plaintiff has the right to dispute and/or seek validation
of the debt.

24. Plaintiff has never received a letter notifying him of his rights and privileges
under the FDCPA.

25. Defendant’s actions in attempting to collect the alleged debt were harassing,

abusive and highly deceptive.`

CONSTRUCTION OF APPLlCABLE LAW

26.` The FDCPA is a strict liability statute. Tavlor v. Perrin, Landrv, _deLaunavv & _
Qu_rLl, 103 F.3d 1232 (5th Cir. 1997). “Because the Act imposes strict liability, a consumer c
need not show intentional conduct by thedebt collector to be entitled to damages” Russell v.
Eguifax A.R.S., 74 F. 3d 30 (2d Cir. 1996); see also Gearing v. Check Brokerage CorpA. 233
F.3d 469 (7th Cir. 2000) (holding unintentional misrepresentation of debt collector’_s legal status
violated FDCPA); Clomon,v. lackson, 988 F. 2d 1314 (2d Cir. 1993).

27. The FDCPA is a remedial statute, and therefore must'be construedliberally in
favor of the debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235 (W.D. Wash. 2006). The
remedial nature of the FDCPA requires that courts interpret it liberally. Clark v. Capital Credit
& Collection Services. Inc., 460 F. 3d 1162 (9th Cir. 2006).- F‘Because the FDCPA, like the
'l`ruth, in Lending Act (TILA) n 15 U.S.C §1601 et seq., is `a remedial statute, it should,be
construed liberally in favor of the consumer.” .Johnson v. Riddle, 305 F. 3d 1107 (10th Cir.

2002).

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28. The FDCPA is to be interpretedin accordance with the “least sophisticated”
consumer standard See Jeter v. Credit Bureau, Inc., 760 F.2d 1168 (11th Cir. -1985); Graziano
v. Harrison, 950 F. 2d 107 (3rd Cir. 1991); Swanson v. Southern Oregon Credit Service, ,Inc.,
869 F.2d 1222 (9th Cir. 1988). The FDCPA was not “made for the protectionof experts, but for `
the public - that vast multitude which includes the ignorant, the unthinking, and the credulous,
and the fact that a false statement may be obviously false to those who are trained and
experienced does not change its character, nor_ take away its power to deceive others less
experienced.” _Id__. The least sophisticated consumer standard serves a`dual purpose in that it
ensures protection of all consumers even naive and trusting, against deceptive collection
practices, and protects collectors against liability for bizarre or idiosyncratic interpretations of

collection notices Clomon 1 988 F. 2d at 1318.

 

.COUNT I
DEFENDANT VIOLATED THE
FAIR DEBT COLLECTION PRACTICES ACT

29. ln its actions to collect a disputed debt, Defendant violated the FDCPA. in one or
more of the following ways: v
a. Defendant violated of the FDCPA generally;
b. Defendant violated § 1692e of the FDCPA by using false, deceptive,` or
misleading representations or means '_in.connection with the collection of a
debt; c l n '
c. Defendant violated § 1692e(10) of theFDCPA by using false representations
or deceptive means to collect or attempt to collect a debt; 4
d.' Defendant violated § l692g of the FDCPA by failing to provide to Plaintiff,

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WHEREFORE, Plaintiff, CHARLES P. SOTIRKYS, respectfully pray lfor a judgment as

PLEASE TAKE NOTICE that Plaintiff, CHARLES P. SOTIRKYS, demands a jury trial

e.
follows:

a.

b.

c.

d.
in this case.

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within five (5) days after the initial communication in connection with the
collection of a debt, written notice advising him of his rights to dispute the
debt and/or request validation. n
Defendant acted in an otherwise deceptive, unfair and unconscionable manner

and failed to comply with the FDCPA.

All actual compensatory damages `Suffered pursuant to 15 U.S.C. §
1692k(a)(1); - c
Statutory damages of $1,000.00 for each violation of the FDCPA pursuant to
15 U.S.C. § 1692k(a)(2)(A); n n
All reasonable attorneys’ fees, witness fees, court costs and other litigation
costs incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3); and

Any other relief deemed appropriate by this Honorable Court.

DEMAND FOR JURY 'I`.RIAL

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_RESPECTFULLY SUBMITTED,

Dated: January 21, 2011 KIMMEL & SILVERMAN, P.C.-. '

By: /s/ Angela K. Troccoli
Angela K. Troccoli, Esqu~ire, BBO# 651593

Kimmel & Silvennan,-‘PC

The New England Ojj‘z`ce

60 Hartford Pike, PO Box 325
Dayville, _CT' 06241 `

(860) 866-4380

(860) 263-0919- facsimile

Email: Atroccoli(a)lemonlaw.com

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